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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA



United States of America,
                                                       Case. No. 22-cr-195 (PJS/JFD)
                     Plaintiff,

v.
                                                      SCHEDULING ORDER AND
Quantez Demarco Ward,                                 NOTICE OF ARRAIGNMENT

                     Defendant.



       A grand jury of this district returned an indictment in this case, which was docketed

on August 17, 2022 (Dkt. No. 16). The defendant, Mr. Ward, will be arraigned before the

undersigned at the motions hearing scheduled for October 6, 2022 at 1:00 PM.

       Pursuant to the Due Process Protections Act, the Court advises the United States of

its obligation to disclose to the defendant all exculpatory evidence as defined by Brady v.

Maryland, 373 U.S. 83 (1963) and its progeny, and ORDERS the United States to disclose

all such evidence. Failure to do so in a timely manner may result in consequences, including,

but not limited to, exclusion of evidence, adverse jury instructions, dismissal of charges,

contempt proceedings, disciplinary action, or sanctions by the Court.

       Pursuant to Local Rule 12.1 (copy attached), IT IS FURTHER HEREBY

ORDERED that:

       1.      The United States must make all disclosures required by Federal Rule of

Criminal Procedure 16(a) by August 24, 2022. D. Minn. LR 12.1(a)(1). In order to avoid the
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need for a recess of the motions hearing, the United States is requested to make, by

September 25, 2022, all disclosures which will be required by Fed. R. Crim. P. 26.2 and

12(h).

         2.      The defense must make all disclosures required by Federal Rule of Criminal

Procedure 16(b) by August 31, 2022. D. Minn. LR 12.1(a)(2).

         3.      The United States is ordered to preserve the rough notes of the law

enforcement officers who participated in the investigation of this case.

         4.      The Court cannot require the parties to disclose witness statements before a

witness testifies at a trial or hearing. To avoid unnecessary delay of a hearing or trial, the

Court urges the parties to voluntarily disclose witness statements one week before any

hearing or trial.

         5.      Any motion seeking to have counsel participate in voir dire must be made at

the appropriate time to the district court judge, Chief Judge Patrick J. Schiltz.

         6.      All motions in the above-entitled case must be filed and served consistent with

Federal Rules of Criminal Procedure 12(b) and 47 on or before September 7, 2022.1 D.

Minn. LR 12.1(c)(1). Magistrate Judge Docherty prefers not to receive courtesy copies

related to pretrial motions. If there is no need for a motions hearing, either because no

motions were filed, or for any other reason, counsel must electronically file a letter

saying so on or before September 7, 2022, or immediately upon the occurrence of the


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       “Before filing a motion under Fed. R. Crim. P. 12(b), the moving party must confer
with the responding party. The parties must attempt in good faith to clarify and narrow the
issues in dispute.” D. Minn. LR 12.1(b).
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event making a motions hearing unnecessary if that event occurs after September 7,

2022.

        7.      All responses to motions must be filed by September 21, 2022. D. Minn. LR

12.1(c)(2).

        8.      Any Notice of Intent to Call Witnesses must be filed by September 21, 2022.

D. Minn. LR. 12.1(c)(3)(A).

        9.      Any Responsive Notice of Intent to Call Witnesses must be filed by

September 26, 2022. D. Minn. LR 12.1(c)(3)(B).

        10.     A motions hearing will be held pursuant to Federal Rules of Criminal

Procedure 12(c) where:

                a.     The United States makes timely disclosures and Defendant identifies in
                       the motions particularized matters for which an evidentiary hearing is
                       necessary; or

                b.     Oral argument is requested by either party in its motion, objection or
                       response pleadings.

        11.     In the event a motions hearing is required, the hearing will be set for October

6, 2022 at 1:00 PM in Courtroom 6A, 316 Robert St. N., St. Paul, MN 55101 before

Magistrate Judge John F. Docherty.

        12.     TRIAL

                a.     IF NO PRETRIAL MOTIONS ARE FILED BY DEFENDANT, the

        trial and trial-related dates are:

        i.      This case is scheduled for trial on October 24, 2022 at 9:00 a.m. in
                Courtroom 15, Minneapolis, before Chief Judge Patrick J. Schiltz.


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      ii.      A status conference will be held on October 21, 2022, at 9:00 a.m. in
               Courtroom 15, Minneapolis, before Chief Judge Patrick J. Schiltz. The
               government must submit its lists of prospective witnesses and prospective
               exhibits at this conference.

      iii.     Trial briefs, voir dire questions, proposed jury instructions, and trial-related
               motions (including motions in limine) must be submitted to Chief Judge
               Schiltz’s chambers by 4:00 p.m. on October 12, 2022. Responses to trial-
               related motions (including motions in limine) must be submitted by 4:00
               p.m. on October 17, 2022.

               b.     IF PRETRIAL MOTIONS ARE FILED, the trial date, and other

related dates, will be rescheduled following the ruling on pretrial motions. Counsel

must contact the Courtroom Deputy for Chief Judge Patrick J. Schiltz to confirm the

new trial date.


Dated: August 19, 2022                         s/ John F. Docherty
                                               JOHN F. DOCHERTY
                                               United States Magistrate Judge




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